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8
                         IN THE UNITED STATES DISTRICT COURT
9
                                  FOR THE DISTRICT OF ARIZONA
10
11   John Doe, a single man,                     Case No.: 2:18-cv-01623-DWL
12
                     Plaintiff,
13                                               STIPULATED MOTION FOR AN
     v.                                          ORDER TO SEAL CERTAIN
14                                               EXHIBITS TO PLAINTIFF’S
15   The Arizona Board of Regents, et al.,       MOTIONS TO EXCLUDE EXPERT
                                                 TESTIMONY AND OPINIONS OF
16                   Defendants.                 BORRELLI, DUNCAN, AND LAKE
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18                                               (Assigned to the Honorable Dominic W.
                                                 Lanza)
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1           Pursuant to Local Rule 5.6(d) and the Protective Order entered by this Court on
2    September 16, 2019 (Dkt. 59), Plaintiff John Doe and Defendant the Arizona Board of
3    Regents (“ABOR”) have conferred regarding certain exhibits to the following concurrently
4    filed motions: (1) Plaintiff’s Motion to Exclude Expert Testimony and Opinions of Jason
5    Borrelli and Dwight Duncan, and (2) Plaintiff’s Motion to Exclude Expert Testimony and
6    Opinions of Peter F. Lake. Plaintiff and ABOR stipulate and agree that the following
7    exhibits contain Confidential Information as that term is defined in the Protective Order and
8    should be filed under seal.
9           Plaintiff and ABOR stipulate and agree that the following exhibits to Plaintiff’s
10   concurrently filed motions should be filed under seal:
11              1. Exhibit 2 to Plaintiff’s Motion to Exclude Expert Testimony and Opinions of
                   Peter F. Lake: Expert Response of Peter F. Lake;
12
13              2. Exhibit 1 to Plaintiff’s Motion to Exclude Expert Testimony and Opinions of
                   Borrelli and Duncan: Expert Report of Jason Borrelli; and
14
                3. Exhibit 3 to Plaintiff’s Motion to Exclude Expert Testimony and Opinions of
15                 Borrelli and Duncan: Expert Report of Dwight Duncan.
16          Each of these documents contains information designated as “Confidential” pursuant
17   to the Protective Order because the documents use the true names of individuals designated
18   under the Protective Order as “Protected Persons,” and specifically because they contain
19   information that would reveal Plaintiff’s true identity if publicly filed without redaction.

20          Accordingly, the parties respectfully request that the Court enter the Proposed Order
     submitted contemporaneously with this Stipulation.
21
22          RESPECTFULLY SUBMITTED this 22nd day of October, 2021.
23                                                HAGENS BERMAN SOBOL SHAPIRO LLP
24
                                                  By s/ Leonard W. Aragon
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1                                     COHEN DOWD QUIGLEY
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